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                                         UNITED STATES DISTRICT COUR ~(OUTHERN
                                                                         CLERK US DIS11,ICI CQURT
                                                                               DISTRICT OF CALIFORNIA
                                               SOUTHERN DISTRICT OF CALIFORNIA                                       BY                        tAo <C.DEPUTY
                                                                                 AMENDED JUDGMENT IN A CRIMINAL
               UNITED STATES OF AMERICA                                          r-" fii:.'!]j"
                                    V.                                           (For Offenses Committed On or After November I, 1987)
                  FRANKLIN LAMBERTH (5)
                                                                                      Case Number:        14CR2907-CAB

                                                                                 ROSELINE D. FERAL
                                                                                 Defendant's Attorney
REGISTRATION NO.                    39659298
IZI Correction to Sentenc~ based upon Joint Sentencing Recalculation; Previously Imposed Sentence is Hereby Set Aside and Vacated.
THE DEFENDANT:
rg]    pleaded guilty to count(s)          ONE (1) OF THE ONE-COUNT INDICTMENT

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                          Connt
Title & Section                        Natnre of Offense                                                                                 Nnmberfs)
18 USC 1962(d) and 18                  CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS                                                             1
USC 1963                               THROUGH A PATTERN OF RACKETEERING ACTMTY




    The defendant is sentenced as provided in pages 2 through                                     4     of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                                                is               dismissed on the motion ofthe United States.
                  ---------------------
       Assessment: $100.00
rg]



rg] No fine                0 Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                                 HON. CAT  ANNBENCIVENGO
                                                                                 UNITED STATES DISTRICT JUDGE



                                                                                                                                        14CR2907-CAB
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                                               IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
72 MONTHS, CONCURRENT TO THE SENTENCE IMPOSED IN CASE NO. 13CR2746-CAB AND ANY
SENTENCE IMPOSED IN SAN DIEGO SUPERIOR COURT CASE NO. SCD256609.




D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
IZI   The court makes the following recommendations to the Bureau of Prisons:
      PLACEMENT IN A FACILITY LOCATED IN THE WESTERN REGION TO FACILITATE FAMILY
      VISITATION.



D     The defendant is remanded to the custody of the United States Marshal.

D     The defendant shall surrender to the United States Marshal for this district:
      D at _ _ _ _ _ _ _ _ A.M.                          on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____

      D     as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
D
      Prisons:
      D     on or before
      D     as notified by the United States Marshal.
      D     as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

      Defendant delivered on   _ _ _ _ _ _ _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

at _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



                                                                                                       14CR2907-CAB
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                                                          SUPERVISED RELEASE
Upon release from imprisomnent, the defendant shall be on supervised release for a term of:
THREE (3) YEARS, CONCURRENT TO SUPERVISION IMPOSED IN CASE NO. 13CR2746-CAB.



     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisomnent and at least two periodic drug tests
thereafter as determined by the cornt. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by cornt.
           The above drug testing condition is suspended, based on the cornt's determination that the defendant poses a low risk of future
D          substance abuse. (Check, if applicable.)
181        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
           The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
           Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
D          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
           resides, works, is a student, or was convicted ofa qualifying offense. (Check ifapplicable.)
D          The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           Ifthis judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fme or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
      of Payments set forth in this judgment.
           The defendant shall comply with the standard conditions that have been adopted by this cornt. The defendant shall also comply
       with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
      1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)  the defendant shall support his or her dependents and meet other family responsibilities;
      5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training, or other acceptable
          reasons;
      6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
      10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer;
      II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
          the court; and
      13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
          with such notification requirement.



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                                 SPECIAL CONDITIONS OF SUPERVISION

      I. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
         Officer at a reasonable time and in a reasonable marmer, based upon reasonable suspicion of contraband
         or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
         revocation; the defendant shall warn any other residents that the premises may be subject to searches
         pursuant to this condition.

      2. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

      3. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
         and counseling, as directed by the probation officer. Allow for reciprocal release of information
         between the probation officer and the treatment provider. May be required to contribute to the costs of
         services rendered in an amount to be determined by the probation officer, based on ability to pay.

     4. Resolve all outstanding warrants within 60 days.

      5. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials
         associated with a gang, unless given permission by the probation officer.

     6. Shall not loiter, or be present in locations known to be areas where gang members congregate, unless
        given permission by the probation officer.

     7. Shall not associate with any member, prospect, or associate of the (Lincoln Park Bloods or affiliates), or
        any other gang, unless given permission by the probation officer.




II




                                                                                                  14CR2907-CAB
